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                      IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                              WINSTON-SALEM DIVISION


IN RE:                                            )
                                                  )
CAROLE LYNN DOSE’                                 )      Case No. 19-50249
                                                  )      Chapter 7
         Debtor.                                  )

 WITHDRAWAL OF RESPONSE AND OBJECTION BY TRUSTEE TO MOTION BY
 NATIONSTAR MORTGAGE LLC FOR RELIEF FROM THE AUTOMATIC STAY

       Comes Now Daniel C. Bruton, Chapter 7 Trustee, and withdraws the Response and
Objection by Trustee to Motion by Nationstar Mortgage LLC for Relief from the Automatic Stay
[DOC # 18], filed on April 22, 2019.

         This the 14th day of May, 2019.


                                                /s/ Daniel C. Bruton
                                                Daniel C. Bruton, NCSB No. 22440
                                                Attorney for the Trustee



 OF COUNSEL

 Bell Davis & Pitt, PA
 100 N. Cherry St, Suite 600
 Winston-Salem, NC 27101
 Telephone: (336) 722-3700
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                      IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
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IN RE:                                                )
                                                      )
CAROLE LYNN DOSE’                                     )       Case No. 19-50249
                                                      )       Chapter 7
         Debtor.                                      )

                                 CERTIFICATE OF SERVICE

        THIS IS TO CERTIFY that on the below date, the undersigned served a copy of the
WITHDRAWAL OF RESPONSE AND OBJECTION BY TRUSTEE TO MOTION BY
NATIONSTAR MORTGAGE LLC FOR RELIEF FROM THE AUTOMATIC STAY by
electronic means or by depositing the same, enclosed in a postpaid wrapper, properly addressed
to the following parties in interest, at their last known addresses as shown below, in a post office
or official depository under the exclusive care and custody of the United States Postal Service:

Andrew Lawrence Vining                Via CM/ECF
Shapiro & Ingle, LLP
10130 Perimeter Pkwy, Suite 400
Charlotte, NC 28216

D. Barrett Burge                      Via CM/ECF
514 S. Stratford Road, Suite 333
Winston-Salem, NC 27103


         This the 14th day of May, 2019.

                                                   /s/ Daniel C. Bruton
                                                   Daniel C. Bruton
                                                   Attorney for Trustee
